MANDATE
                 Case
               Case   20-3977, DocumentDocument
                    1:20-cv-07311-LAK   166-1, 04/21/2023,
                                                 150 Filed3502953,
                                                           04/21/23 Page1
                                                                     Page of 1 1
                                                                          1 of
                                                                                      1:20-cv-07311-LAK


                           UNITED STATES COURT OF APPEALS
                                      FOR THE
                                   SECOND CIRCUIT                                                 Apr 21 2023


            At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     21st day of April, two thousand twenty-three,

     Before:     Guido Calabresi,
                 Denny Chin,
                 William J. Nardini,
                        Circuit Judges.
     _________________________________________

    E. Jean Carroll,
                                                          JUDGMENT
                 Plaintiff - Appellee,
                                                          Docket Nos. 20-3977(L), 20-3978(CON)
    v.

    Donald J. Trump, in his personal capacity,

                 Defendant - Appellant,

    United States of America,

               Movant - Appellant.
     _________________________________________

             The appeals in the above captioned case from a judgment of the United States District
     Court for the Southern District of New York were argued on the district court’s record and the
     parties’ briefs. Upon consideration thereof,

            IT IS HEREBY ORDERED, ADJUDGED and DECREED that the cause is
     REMANDED to the district court for further proceedings consistent with the detailed guidance
     provided by the D.C. Court of Appeals.

                                                          For the Court:

                                                          Catherine O’Hagan Wolfe,
                                                          Clerk of Court




MANDATE ISSUED ON 04/21/2023
